           Case 6:21-cv-00147-ADA Document 15-1 Filed 04/22/21 Page 1 of 2




                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                     WACO DIVISION

 MATCH GROUP, LLC,                                 §
                                                   §
           Plaintiff,                              §
                                                   §
 v.                                                § Civil Action No. 6:21-cv-00147-ADA
                                                   §
 MUZMATCH LIMITED                                  §
                                                   §
           Defendant.                              §

          DECLARATION OF ERIK JANITENS IN SUPPORT OF PLAINTIFF
      MATCH GROUP, LLC’S RESPONSE TO DEFENDANT’S MOTION TO DISMISS

          I, Erik Janitens, hereby declare as follows:

          1.     I am an attorney at the law firm of Norton Rose Fulbright in Houston, Texas. I am

admitted to practice in the State of Texas and in the Western District of Texas, pro hac vice. I

submit this declaration based on personal knowledge and following a reasonable investigation. If

called upon as a witness, I could and would competently testify to the truth of each statement

herein.

          2.     The document attached as Exhibit A is a true and correct copy of U.S. Patent No.

9,733,811 entitled “Matching Process System and Method,” dated August 15, 2017.

          3.     The document attached as Exhibit B is a true and correct copy of U.S. Patent No.

9,959,023 entitled “Matching Process System and Method,” dated May 1, 2018.

          4.     The document attached as Exhibit C is a true and correct copy of U.S. Patent No.

10,203,854 entitled “Matching Process System and Method,” dated February 12, 2019.

          5.     The document attached as Exhibit D is a true and correct copy of Provisional Patent

Application No. 61/015,099, dated December 19, 2007.
        Case 6:21-cv-00147-ADA Document 15-1 Filed 04/22/21 Page 2 of 2




       6.      The document attached as Exhibit E is a true and correct copy of U.S. Patent No.

8,566,327 entitled “Matching Process System and Method,” dated October 22, 2013.

       7.      The document attached as Exhibit F is a true and correct copy of U.S. Patent No.

9,733,811 prosecution file history.

       8.      The document attached as Exhibit G is a true and correct copy of U.S. Patent No.

9,959,023 prosecution file history.

       9.      The document attached as Exhibit H is a true and correct copy of U.S. Patent No.

10,203,854 prosecution file history.

       I declare under penalty of perjury that the foregoing is true and correct.

       Executed on April 22, 2021

                                                  /s/ Erik Janitens
                                                  Erik Janitens




                                               -2-
